     Case 6:20-cr-00001-RSB-CLR Document 287 Filed 02/07/20 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )
                                            )    CASE NO. 6:20-CR-001
MONICA MITCHELL                             )


             ORDER ON MOTION FOR LEAVE OF ABSENCE

      Before the Court, is defense counsel’s Motion for Leave of Absence for the

dates of March 13th thru March 21st, 2020 and March 31st, 2020. Good cause having

been shown, the Motion is hereby granted.

      SO ORDERED this WKday of )HEUXDU\ 2020.


                                                 ____________________
                                                 ________
                                                  _      _____________
                                                 Christopher
                                                 Christoph
                                                         herr L. Ray
                                                 United States Magistrate Judge
                                                 Southern District of Georgia
                                                 Savannah Division
